            2:23-cv-02168-CSB-EIL         # 29       Filed: 02/03/25   Page 1 of 1
                                                                                                  E-FILED
                                                                  Monday, 03 February, 2025 03:28:59 PM
                                                                           Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT FOR THE
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION


 DOMINICK POLIZZI, RACHEL                         Case No.: 2:23-cv-02168-CSB-EIL
 ROBIDOUX, and GEORGIA BAIN on behalf
 of themselves and all others similarly situated, Hon. Judge Colin S. Bruce

        Plaintiffs,

 v.

 JIMMY JOHN’S, LLC,
        Defendant.



      NOTICE OF MOTION FOR WITHDRAWAL OF ARUN G. RAVINDRAN AS
                       COUNSEL FOR PLAINTIFFS

       Plaintiffs, by and through the undersigned, hereby move this Court to allow the

undersigned to withdraw as counsel of record in this matter because he is leaving employment at

Hedin LLP. Counsel at Hedin LLP and Wolf Haldenstein Adler Freeman & Herz LLC will

remain as counsel of record. Counsel for Defendant consents to the relief sought herein.



Dated: January 31 2025                      Respectfully submitted,

                                            /s/ Arun G. Ravindran
                                            HEDIN LLP
                                            Arun G. Ravindran
                                            1395 Brickell Avenue, Ste. 1140
                                            Miami, Florida 33131
                                            Tel: (305) 357-2107
                                            Fax: (305) 200-8801
                                            aravindran@hedinllp.com


                                            Counsel for Plaintiff and the Putative Class




                                               -1-
